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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Hadona Diep
Ryumei Nagao

Name(s) of counsel (if any):
Elliot Conn
Joshua Whitaker, Pro Hac Vice Counsel


Address: 2306 Wineberry Terrace Baltimore MD 21209
Telephone number(s): 301.755.3874
Email(s): whitaker@adelphilaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Apple, Inc.


Name(s) of counsel (if any):
Isabelle Ord, Alexander Wolf, Ellen Dew (admitted pro hac vice), A. Neill
Thupari (admitted pro hac vice)


Address: 555 Mission Street, Suite 2400 San Francisco, CA 94105-2933
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To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        Rev. 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes      No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                          Rev. 12/01/2018
